Case 1:19-cv-01471-ABJ Document 1-14 Filed 05/20/19 Page 1 of 3




                        EXHIBIT 9
        Case 1:19-cv-01471-ABJ Document 1-14 Filed 05/20/19 Page 2 of 3



DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop S2-14-26
Baltimore, Maryland 21244-1850


Disabled and Elderly Health Programs Group



November 6, 2018

Diane Bass, Technical Contact
Mallinckrodt LLC
675 McDonnell Blvd
Hazelwood, MO 63042

Dear Ms. Bass:

On April 13, 2016 and March 20, 2017 CMS informed Mallinckrodt LLC that it was reporting
incorrect base Average Manufacturer Price (base AMP) information and an incorrect FDA
application number in the Drug Data Reporting for Medicaid (DDR) system. This is a notice
that Mallinckrodt LLC has not taken action to date to correct this information and must do so
within 30 days of receiving this notice and notify CMS of its action, otherwise CMS will identify
the following national drug code (NDC) as “out of compliance” in the DDR system as of
December 17, 2018. When an NDC is identified as out of compliance, the submission of pricing
records or updates to product data will not be allowed online or via file transfer. The NDC will
remain out of compliance until Mallinckrodt LLC takes the necessary steps to bring the NDC’s
product information into compliance. CMS may also consider referring Mallinckrodt LLC to the
Department of Justice and/or the Office of the Inspector General of the U.S. Department of
Health and Human Services (HHS-OIG), as appropriate.
The NDC is as follows:
63004-8710     H.P. Acthar Gel
We have enclosed a template for you to complete and return to rxdrugpolicy@cms.hhs.gov so
that we can enter the corrected base AMP information, FDA approval date, and market date into
DDR. Once we have done so, we will notify you that the corrected information is awaiting
Mallinckrodt’s certification. The FDA application number may be corrected in DDR by
Mallinckrodt LLC without CMS assistance. Once Mallinckrodt certifies the corrected
information, states will receive notification on the subsequent rebate file, in the form of prior
period adjustments, which indicate that the Unit Rebate Amount (URA) has changed for the
drug. Mallinckrodt will be responsible for adjusting previous payments to the states using the
Prior Quarter Adjustment Statement (PQAS) in accordance with the URA changes. We believe
that such changes would be applicable for every quarter for which the base date AMP should
have been established based on a market date of 9/30/1990 and not 1/7/2013.
        Case 1:19-cv-01471-ABJ Document 1-14 Filed 05/20/19 Page 3 of 3



Please review your records and contact CMS at rxdrugpolicy@cms.hhs.gov if you have any
questions regarding this email.


                                                 Sincerely,


                                                        /s/
                                                 John M. Coster, PhD, RPh
                                                 Director, Division of Pharmacy



cc: Kathy Schaefer, Legal Contact
